                                   Case 18-17662-LMI
 Fill in this information to identify the case:
                                                                 Doc       Filed 11/05/19          Page 1 of 4
B 10 (Supplement 2) (12/11)          (post publication draft)
 Debtor 1         Diane Dixon
                  __________________________________________________________________

 Debtor 2              ________________________________________________________________
 (Spouse, if filing)

                                         Southern
 United States Bankruptcy Court for the: ______________________             FL
                                                                District of __________
                                                                            (State)
 Case number           18-17662-LMI
                       ___________________________________________




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                          12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.



                   Bank of America, N.A.
 Name of creditor: _______________________________________                                                            6-1
                                                                                          Court claim no. (if known): __________________

 Last 4 digits of any number you use to
                                                           6 ____
                                                         ____ 3 ____
                                                                  0  7
                                                                     ____
 identify the debtor’s account:

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
 
 x      No
       Yes. Date of the last notice: ____/____/_____


 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
 approved an amount, indicate that approval in parentheses after the date the amount was incurred.

      Description                                                       Dates incurred                                     Amount

  1. Late charges                                                       _________________________________            (1)   $ __________
  2. Non-sufficient funds (NSF) fees                                    _________________________________            (2)   $ __________
  3. Attorney fees                                                      _________________________________            (3)   $ __________
  4. Filing fees and court costs                                        _________________________________            (4)   $ __________
  5. Bankruptcy/Proof of claim fees                                    07/30/19 (Supplemental)
                                                                        _________________________________            (5)   $ __________
                                                                                                                                  150.00
  6. Appraisal/Broker’s price opinion fees                              _________________________________            (6)   $ __________
  7. Property inspection fees                                           _________________________________            (7)   $ __________
  8. Tax advances (non-escrow)                                          _________________________________            (8)   $ __________
  9. Insurance advances (non-escrow)                                    _________________________________            (9)   $ __________
 10. Property preservation expenses. Specify:_______________            _________________________________           (10)   $ __________
 11. Other. Specify:____________________________________
                    Review/Analyze Amended Plan                        05/15/19, 05/22/19, 10/15/19
                                                                        _________________________________           (11)   $ __________
                                                                                                                                  450.00
                   Objection to Confirmation
 12. Other. Specify:____________________________________               05/09/19, 05/22/19
                                                                        _________________________________           (12)   $ __________
                                                                                                                                  750.00
                    FC Litigation Fees.
 13. Other. Specify:____________________________________               5/28/19, 5/29/19
                                                                        _________________________________           (13)   $ __________
                                                                                                                                  215.00
 14. Other. Specify:____________________________________                _________________________________           (14)   $ __________


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Official Form 410S2                            Notice of Postpetition Mortgage Fees, Expenses, and Charges                          page 1
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Debtor 1     Diane Dixon
             _______________________________________________________
                                                                                                               18-17662-LMI
                                                                                           Case number (if known) _____________________________________
             First Name       Middle Name               Last Name




 Part 2:    Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

     I am the creditor.
  
  x   I am the creditor’s authorized agent.


  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.



            8__________________________________________________
                 Signature
                                                                                           Date
                                                                                                   11 05 2019
                                                                                                   ____/_____/________




 Print:           Diana                                Torres-Brito
                 _________________________________________________________                 Title    Attorney
                                                                                                   ___________________________
                 First Name                      Middle Name        Last Name



 Company         Prober & Raphael, A Law Corporation
                 _________________________________________________________



 Address         20750 Ventura Boulevard, Suite 100
                 _________________________________________________________
                 Number                 Street
                 Woodland  Hills             CA            91364
                 ___________________________________________________
                 City                                               State       ZIP Code




 Contact phone    (818) 227-0100
                 (______) _____– _________                                                        Email: cmartin@pralc.com
                                                                                           Email ________________________




Official Form 410S2                                Notice of Postpetition Mortgage Fees, Expenses, and Charges                                page 2
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                                          SPECIAL NOTICE

     THE FOLLOWING NOTICE IS GIVEN TO YOU IN THE EVENT THAT THE
     FEDERAL FAIR DEBT COLLECTION PRACTICES ACT APPLIES TO THIS
                          COMMUNICATION.


   The following statement provides you with notice of certain rights which you may have by law.
Nothing in this statement modifies or changes the hearing date or response time specified in the

attached documents or your need to take legal action to protect your rights in this matter. No
provision of the following statement modifies or removes your need to comply with local rules

concerning the attached documents.

                                    CONSUMER DISCLOSURE
   This communication is made in an attempt to collect on a debt or judgment and any information
obtained will be used for that purpose. Please be advised that if you notify Prober and Raphael,

ALC within 30 days that all or a part of your obligation or judgment is disputed, then Prober and

Raphael, ALC will mail you a written verification of the obligations or judgment and the amounts

owed to Bank of America, N.A.

                                                                                            .

In addition and upon your request within 30 days, you will be provided with the name and address

of the original creditor, if different from the current creditor.
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                                        PROOF OF SERVICE

                     STATE OF CALIFORNIA, COUNTY OF LOS ANGELES:


               I,    Rogelio Soria                         , certify that I am a resident of the County

aforesaid; I am over the age of 18 years and not a party to the within action; my business address is

20750 Ventura Boulevard, Suite 100, Woodland Hills, California 91364.

               On      11/5/2019                                    , I served the within NOTICE OF

POSTPETITION MORTGAGE FEES, EXPENSES, AND CHARGES on all interested parties in

this proceeding by placing true and correct copy thereof enclosed in a sealed envelope with postage

prepaid in the United States Mail at Woodland Hills, California, addressed as follows:

Diane Dixon
17926 NW 40 Court
Opa Locka, FL 33055
Debtor

Maria Alvarez, Esquire
Legal Services of Greater Miami, Inc.
4343 West Flagler Street #100
Miami, FL 33134
Attorney for Debtor

Nancy K. Neidich
www.ch13miami.com
POB 279806
Miramar, FL 33027
Chapter 13 Trustee




               I declare that I am employed in the office of a member of the Bar at whose direction

this service was made.

               I certify under penalty of perjury that the foregoing is true and correct.

                Executed on          11/5/2019                        at Woodland Hills, California.


                                                                /s/ Rogelio Soria
